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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                           10/13/2023

 AVERBACH et al.,
                                       Plaintiffs,
                         -against-                                          ORDER

  CAIRO AMMAN BANK,                                                 19-CV-0004-GHW-KHP

                                       Defendant.


KATHARINE H. PARKER, United States Magistrate Judge

       As discussed at the October 12, 2023 Case Management Conference:

       The parties shall meet and confer in an effort to reach agreement as to categories of

CAB records for preliminary production, and shall file a joint status letter by Friday, November

3, 2023 of no more than 5 pages providing an update as to their resolution of the issue.

       By Thursday, November 30, 2023, Plaintiff shall have produced all relevant and

responsive documents in its possession that it represented at the conference it intends to

produce by the end of November.

       Additionally, by Thursday, November 30, 2023, the parties shall compile a spreadsheet

(or spreadsheets) in accordance with the Court’s guidance at the Conference so that the parties

and the Court can more easily understand what discovery is necessary as to the various

Plaintiffs and claims. The spreadsheet(s) should be in a format that is shareable with the Court

should the Court request a copy.

       A Case Management Conference is scheduled on Monday, December 11, 2023 at

2:00 p.m. in Courtroom 17-D, U.S. Courthouse, 500 Pearl Street, New York NY 10016.

       SO ORDERED.
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Dated: October 13, 2023                      ___________________________
       New York, New York                    KATHARINE H. PARKER
                                             United States Magistrate Judge




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